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IN THE UNITED STATES BANKRUPTCY COURT FILE D
FOR THE DISTRICT OF DELAWARE 2020MAR 17 AM 9: 34

In re: Chapter 11 US BANKRUB fay }
P DISTRICT OF DEL AWACE
Case No. 20-10475 (BLS)
CRAFTWORKS PARENT, LLC, et al.,
(Jointly Administered)
Debtors.

 

REQUEST FOR SERVICE OF NOTICES

PLEASE TAKE NOTICE that interested party, AP 140 W Franklin ST., LP, predecessor
in interest to 140 West Franklin LLC, by and through its counsel, Natalie D. Potter and the law
firm of Essex Richards, P.A., hereby requests that all notices given or required to be given, and all

documents filed or served, in this case and in all adversary proceedings in this case be served on
AP 140 W Franklin St., LP as follows:

Natalie D. Potter

NC State Bar No. 34574

Essex Richards, P.A.

1701 South Blvd.

Charlotte, NC 28203

Email: npotter@essexrichards.com
Telephone: 704-377-4300
Facsimile: 704-372-1357

Dated: March 11, 2020 \\ laa

Nafall? D. Potter, NC ‘Bar No. 34574
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Counsel for AP 140 W Franklin St., LP

 

 

 

 
